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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

CMC TELECOM, INC., et al.           )
           Plaintiffs,              )
                                    )                 No. 1:07-cv-319
-v-                                 )
                                    )                 HONORABLE PAUL L. MALONEY
MICHIGAN BELL TELEPHONE COMPANY,    )
et al.,                             )
            Defendants.             )
____________________________________)

    ORDER MODIFYING AND ADOPTING REPORT AND RECOMMENDATION

       Before this Court is a report and recommendation (“R&R”) (ECF No. 65) issued by the

magistrate judge. Neither party objects to the substance of the R&R. Defendant Michigan Bell

Company filed an objection as to certain language in the R&R. (ECF No. 70.) Plaintiff CMC

Telecom consented to Defendant’s suggested modifications, without adopting any of the arguments

advanced by Defendant. (ECF No. 71.)

       Accordingly, the report shall be modified. The fifth sentence of the first paragraph of the

report is modified to read as follows. “At the hearing, the parties were in agreement that the part

of Count One that challenged the MPSC’s Order should be remanded to the Michigan Public Service

Commission immediately for entry of an order consistent with the Sixth Circuit’s opinion.” The

fifth sentence of the second paragraph of the report is modified to read as follows. “The

undersigned, in reliance on the language of the parties’ joint status report (Dkt. 15) and in further

reliance on the Court’s original Case Management Order (Dkt. 17), concluded that it had been the

intention of the Court to bifurcate the damages issue from the challenge to the MPSC’s order, and

that AT&T had not waived its right to bring a Rule 12(b)(6) motion on the damages portion of Count

One of Plaintiffs’ Amended Complaint.”
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        The recommendations shall also be modified. The third recommendation shall read as

follows. “As stipulated by the parties, the district judge shall remand to the Michigan Public Service

Commission (“MPSC”) the portion of Count One that challenged the MPSC’s decision in Case No.

U-14975 for entry of an order consistent with the Sixth Circuit Court of Appeals Opinion and

Judgment (Dkt. 40).”

        The report and recommendation (ECF No. 65) is MODIFIED with the changes specified

above, and so ADOPTED as the opinion of this Court.



Date:   September 9, 2011                                     /s/ Paul L. Maloney
                                                              Paul L. Maloney
                                                              Chief United States District Judge




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